                                Case 24-12086-CLC                     Doc 11          Filed 03/09/24              Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 24-12086-CLC
Duniel Marin Bernal                                                                                                    Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Mar 07, 2024                                               Form ID: 309I                                                             Total Noticed: 33
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 09, 2024:
Recip ID                 Recipient Name and Address
db                     + Duniel Marin Bernal, 3171 SW 14TH ST APT 2, Miami, FL 33145-1089
97279154               + Cornerstone, Pob Box 145122, Salt Lake City, UT 84114-5122
97279160               + Foris Dax, Inc. d/b/a Crypto.com, c/o Kubs Lalchandani, 25 SE 2ND Avenue, Suite 1020, Miami, FL 33131-1604

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: eservice@blancopa.com
                                                                                        Mar 07 2024 22:43:00      Jose A Blanco, Jose A. Blanco, P.A., 102 E 49th
                                                                                                                  ST, Hialeah, FL 33013
tr                     + Email/Text: BNC@ch13miami.com
                                                                                        Mar 07 2024 22:44:00      Nancy K. Neidich, www.ch13miami.com, POB
                                                                                                                  279806, Miramar, FL 33027-9806
smg                       EDI: FLDEPREV.COM
                                                                                        Mar 08 2024 03:27:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallhassee, FL 32314-6668
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Mar 07 2024 22:44:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
97279146               + Email/Text: backoffice@affirm.com
                                                                                        Mar 07 2024 22:44:00      Affirm, Inc., Attn: Bankruptcy, 650 California St,
                                                                                                                  Fl 12, San Francisco, CA 94108-2716
97279147               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 07 2024 22:46:47      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
97279149               + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                                        Mar 07 2024 22:44:00      Checksystems, 7805 Hudson Rd, Saint Paul, MN
                                                                                                                  55125-1594
97279150               + EDI: FLDEPREV.COM
                                                                                        Mar 08 2024 03:27:00      Child Support Enforcement, PO Box 8030,
                                                                                                                  Tallahassee, FL 32314-8030
97279151               + EDI: WFNNB.COM
                                                                                        Mar 08 2024 03:27:00      Comenity/Alphaeoncos, Attn: Bankruptcy, Po Box
                                                                                                                  182125, Columbus, OH 43218-2125
97279152               + EDI: WFNNB.COM
                                                                                        Mar 08 2024 03:27:00      Comenity/Ikea, Attn: Bankruptcy, Po Box 182125,
                                                                                                                  Columbus, OH 43218-2125
97279153               + EDI: WFNNB.COM
                                                                                        Mar 08 2024 03:27:00      Comenitycb/el Dorado, Attn: Bankruptcy Dept, Po
                                                                                                                  Box 182125, Columbus, OH 43218-2125
97279165                  EDI: CITICORP
                                                                                        Mar 08 2024 03:27:00      Macy's/ DSNB, Atytn: Bankruptcy, 701 E. 60th
                                                                                                                  Street North, Sioux Falls, SD 57104
97279156               + EDI: DISCOVER
                                                                                        Mar 08 2024 03:27:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
97279157                  Email/Text: bankruptcycourts@equifax.com
                                                                                        Mar 07 2024 22:44:00      Equifax, Attn: Bankruptcy Dept., P.O. Box
                                                                                                                  740241, Atlanta, GA 30374
97279158               ^ MEBN
                                                                                        Mar 07 2024 22:34:00      Experian, Attn: Bankruptcy Dept., P.O. Box 2002,
                                                                                                                  Allen, TX 75013-2002
                              Case 24-12086-CLC                    Doc 11         Filed 03/09/24            Page 2 of 5
District/off: 113C-1                                               User: admin                                                            Page 2 of 3
Date Rcvd: Mar 07, 2024                                            Form ID: 309I                                                        Total Noticed: 33
97279159                 EDI: FLDEPREV.COM
                                                                                   Mar 08 2024 03:27:00     Florida Department Of Revenue, 5050 W
                                                                                                            Tennessee St, Tallahassee, FL 32399-0110
97279161              + EDI: PHINAMERI.COM
                                                                                   Mar 08 2024 03:27:00     Gm Financial, Attn: Bankruptcy, Po Box 183853,
                                                                                                            Arlington, TX 76096-3853
97279163              ^ MEBN
                                                                                   Mar 07 2024 22:34:47     Honorable Merrick Garland, Attorney General,
                                                                                                            Dept of Justice #4400, 950 Pennsylvania Ave NW,
                                                                                                            Washington, DC 20530-0009
97279155                 EDI: IRS.COM
                                                                                   Mar 08 2024 03:27:00     Department of the Treasury, PO Box 21126,
                                                                                                            Philadelphia, PA 19114
97279148                 EDI: JPMORGANCHASE
                                                                                   Mar 08 2024 03:27:00     Chase Card Services, Attn: Bankruptcy, P.O.
                                                                                                            15298, Wilmington, DE 19850
97279166              + EDI: NAVIENTFKASMSERV.COM
                                                                                   Mar 08 2024 03:27:00     Navient, Attn: Bankruptcy, Po Box 9500, Wilkes
                                                                                                            Barre, PA 18773-9500
97279167                 Email/Text: mhslegal@mhs.net
                                                                                   Mar 07 2024 22:44:00     South Broward Hospital District, 3111 Stirling
                                                                                                            Road, Fort Lauderdale, FL 33312
97279168              + Email/Text: collbknotices@sccu.com
                                                                                   Mar 07 2024 22:44:00     Space Coast Credit Union, Attn: Bankruptcy, 8045
                                                                                                            N Wickham Road, Melbourne, FL 32940-7920
97279169              + EDI: SYNC
                                                                                   Mar 08 2024 03:27:00     Syncb/google, Attn: Bankruptcy, Po Box 965060,
                                                                                                            Orlando, FL 32896-5060
97279170              + EDI: SYNC
                                                                                   Mar 08 2024 03:27:00     Synchrony Bank/Care Credit, Po Box 71757,
                                                                                                            Philadelphia, PA 19176-1757
97279171              + EDI: SYNC
                                                                                   Mar 08 2024 03:27:00     Synchrony Bank/TJX, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060
97279172              + EDI: SYNC
                                                                                   Mar 08 2024 03:27:00     Synchrony/PayPal Credit, Attn: Bankruptcy, Po
                                                                                                            Box 965060, Orlando, FL 32896-5060
97279173              ^ MEBN
                                                                                   Mar 07 2024 22:33:46     Transunion, Attn: Bankruptcy Dept., P.O. Box
                                                                                                            2000, Chester, PA 19016-2000
97279162                 Email/Text: USAFLS.Bankruptcy@usdoj.gov
                                                                                   Mar 07 2024 22:43:00     Honorable Markenzy Lapointe, US Attorney for
                                                                                                            Southern District, 99 NE 4 St, Miami, FL 33132
97279174              + EDI: WFFC2
                                                                                   Mar 08 2024 03:27:00     Wells Fargo Bank NA, Attn: Bankruptcy, 1 Home
                                                                                                            Campus Mac X2303-01a 3rd Floor, Des Moines,
                                                                                                            IA 50328-0001

TOTAL: 30


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
97279164        *             IRS Centralized Bankruptcy Department, PO Box 7346, Philadelphia, PA 19101-7346

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
                              Case 24-12086-CLC                   Doc 11         Filed 03/09/24            Page 3 of 5
District/off: 113C-1                                              User: admin                                                           Page 3 of 3
Date Rcvd: Mar 07, 2024                                           Form ID: 309I                                                       Total Noticed: 33

Date: Mar 09, 2024                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 7, 2024 at the address(es) listed
below:
Name                             Email Address
Jose A Blanco
                                 on behalf of Debtor Duniel Marin Bernal eservice@blancopa.com Blanco.JoseA.R105197@notify.bestcase.com

Nancy K. Neidich
                                 e2c8f01@ch13miami.com ecf2@ch13miami.com

Office of the US Trustee
                                 USTPRegion21.MM.ECF@usdoj.gov


TOTAL: 3
                                      Case 24-12086-CLC                           Doc 11                Filed 03/09/24                       Page 4 of 5

 Information to identify the case:

                        Duniel Marin Bernal                                                        Social Security number or ITIN:   xxx−xx−8359
 Debtor 1:
                                                                                                   EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 Debtor 2:                                                                                         Social Security number or ITIN: _ _ _ _
 (Spouse, if filing)    First Name    Middle Name     Last Name                                    EIN: _ _−_ _ _ _ _ _ _

 United States Bankruptcy Court:     Southern District of Florida                                  Date case filed for chapter:               13    2/29/24

 Case number:          24−12086−CLC
Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                                    About Debtor 1:                                                       About Debtor 2:
 1. Debtor's Full Name                              Duniel Marin Bernal

 2. All Other Names Used
    in the Last 8 Years
                                                    3171 SW 14TH ST APT 2
 3. Address                                         Miami, FL 33145

    Debtor's Attorney                               Jose A Blanco                                                         Contact phone (305) 349−3463
                                                    Jose A. Blanco, P.A.
 4. (or Pro Se Debtor)                              102 E 49th ST
      Name and address                              Hialeah, FL 33013

 5. Bankruptcy Trustee                              Nancy K. Neidich                                                      Contact phone 954−443−4402
      Name and address                              www.ch13miami.com
                                                    POB 279806
                                                    Miramar, FL 33027

 6. Bankruptcy Clerk's                                                                                                    Hours open 8:30 a.m. − 4:00 p.m.
                                                    US Bankruptcy Court
    Divisional Office Where                         301 North Miami Avenue, Room 150
                                                                                                                          Contact phone (305) 714−1800
    Assigned Judge is                               Miami, FL 33128
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.                      Note: Contact the Clerk's Office at the number
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal                        listed above or check the court's website for
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov                             reduced hours of operation for in−person
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the                        filings.
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department of
      Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal building
      or courthouse, must present a current, valid, government issued photo identification (e.g. drivers'                  Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                                  Dated: 3/7/24

 7. **MEETING OF CREDITORS**                                                                                                         *MEETING TO BE HELD BY
     Debtors must attend the meeting to be April 5, 2024 at 09:30 AM                                                                   VIDEO CONFERENCE*
     questioned under oath. In a joint case,
     both spouses must be present with        The meeting may be continued or adjourned
     required original government−issued to a later date. If so, the date will be on the                               Go to www.Zoom.us, click on JOIN or call
     photo identification and proof of social court docket.                                                            (954) 399−2956, Enter Meeting ID 603 731
     security number (or if applicable, Tax                                                                            5972, and Passcode 4054528990
     ID). Creditors may attend, but are not
     required to do so.                                                                                                For additional meeting information
                                                                                                                       visit: www.justice.gov/ust/moc
Local Form 309I USBC SDFL (11/07/2023)                      Notice of Chapter 13 Bankruptcy Case                                                        page 1
                              Case 24-12086-CLC                           Doc 11             Filed 03/09/24                  Page 5 of 5
Debtor Duniel Marin Bernal                                                                                                      Case number 24−12086−CLC
8. Deadlines                             Deadline to file a complaint to challenge                               Filing deadline: 6/4/24
    The bankruptcy clerk's office        dischargeability of certain debts:
   must receive these
   documents and any required            You must file:
   filing fee by the following           • a motion if you assert that the debtors are
   deadlines. Writing a letter to           not entitled to receive a discharge under
   the court or judge is not                U.S.C. § 1328(f) or
   sufficient.                           • a complaint if you want to have a particular
                                            debt excepted from discharge under
                                            11 U.S.C. § 523(a)(2) or (4).
                                         Deadline for all creditors to file a proof of claim                     Filing deadline: 5/9/24
                                         (except governmental units):
                                         Deadline for governmental units to file a proof of                      Filing deadline: 8/27/24
                                         claim:

   When Filing Proofs of          Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not     A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,    www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all   schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via deemed filed and need not be refiled.
                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule      claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be       For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the     including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the       Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                  apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic   asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to       Deadline to Object to Exemptions:                                         Filing deadline: 30 days after the
   electronically file a proof of The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                         exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                         Debtors must file a list of property claimed as exempt. If you                               within 30 days of any
                                         believe that the law does not authorize an exemption that the                                amendment to the list
                                         debtors claim, you may file an objection.                                                    of supplemental
                                                                                                                                      schedules, unless as
                                         The bankruptcy clerk's office must receive the objection by                                  otherwise provided
                                         the deadline to object to exemptions.                                                        under Bankruptcy Rule
                                                                                                                                      1019(2)(B) and Local
                                                                                                                                      Rule 4003−1(B) for
                                                                                                                                      converted cases.

9. Filing of Plan and Hearing           The hearing on confirmation will be held on: 5/21/24 at 01:30 PM, by VIDEO CONFERENCE. You must register
   on Confirmation                      in advance no later than 3:00 PM, one business day before the hearing. To register, click on or enter the
                                        following registration link in a browser:
                                        https://www.zoomgov.com/meeting/register/vJItdeGgrDMoHu492kR90ywB25kmNrg5aFg
                                        If the debtor filed a Chapter 13 Plan, it is included with this notice. If no Plan is filed, the Plan will be mailed to
   Deadline to Object to                ALL parties in accordance with Local Rule 2002−1(C)(5).
   Confirmation                         At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
                                        motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
                                        the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                        filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                        3015−3(B)(1).
   Attorney Fee Claims                  Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.
10. Creditors with a Foreign             Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                              this case.

11. Filing a Chapter 13                  Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                      according to a Plan. A Plan is not effective unless the Court confirms it. You may object to Confirmation of the
                                         Plan and appear at the Confirmation hearing. The Confimation hearing will be held on the date shown in box 9
                                         of this notice. The debtor will remain in possession of the property and may continue to operate the business, if
                                         any, unless the court orders otherwise.
12. Discharge of Debts                   Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                         However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                         are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                         as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                         523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                         If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                         must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                         "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                         certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices 1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by      program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
    Email Rather than U.S. Mail Receive Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
                                9036−1(B) and (C).
14. Translating Services                 Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                         trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                         U.S. Trustee's office to arrange for translating services at the meeting of creditors.
Local Form 309I USBC SDFL                          Notice of Chapter 13 Bankruptcy Case                                                      page 2
